IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 08-0642
                              ((((((((((((((((

      Robert S. Bennett, Individually, And The Bennett Law Firm, P.C.,
                                 Petitioners

                                     v.

                         Stephen T. Leas, Respondent

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                           On Petition for Review
            ((((((((((((((((((((((((((((((((((((((((((((((((((((

      ORDER

      1.    Pursuant to the suggestion of bankruptcy  of  Stephen  T.  Leas,
filed with this Court on October 27, 2008, this  case  is  ABATED  effective
August 11, 2008.
      2.    This case is abated pursuant  to  Tex.  R.  App.  P.  8.2  until
further order of this Court and is removed from the Court's  active  docket,
subject to reinstatement upon proper motion.  Tex.  R.  App.  P.  8.3.   All
motions and other documents pending or filed are  abated  subject  to  being
reurged in the event the case is reinstated.  Tex. R. App. P. 8.2  and  8.3.
It is the parties' responsibility to immediately notify this Court once  the
automatic bankruptcy stay is lifted.

      Done at the City of Austin, this 31st day of October, 2008.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




